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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS

                                                        §
CHARITABLE DAF FUND, L.P., AND CLO
                                                        §
HOLDCO LTD.,
                                                        §
                                                        §
                                   Plaintiff,
                                                        § Case No. 3:21-cv-00842-B
                                                        §
vs.
                                                        §
                                                        §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                        §
HIGHLAND HCF ADVISOR, LTD., AND
                                                        §
HIGHLAND CLO FUNDING, LTD.
                                                        §
                                                        §
                                   Defendants.

  MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS COMPLAINT




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        Highland Capital Management, L.P., a defendant in the above-captioned case (the

“Debtor” or “Highland”), submits this memorandum of law (the “Memorandum”) in support of

the Debtor’s Motion to Dismiss the Original Complaint (the “Motion”).

                                       I.       INTRODUCTION1

        1.       In January 2021, the Debtor filed a motion in the Bankruptcy Court for an order

approving its Settlement with HarbourVest, pursuant to which, inter alia, HarbourVest would

settle its pre-petition claims against the Debtor and transfer its interest in defendant Highland

CLO Funding, Ltd. (“HCLOF”), an entity in which the Debtor already owned interests, to a

subsidiary of the Debtor (the “Prior Proceeding”). CLO Holdco, Ltd. (“CLOH”) objected to the

proposed Settlement, presumably at the direction of its parent, the Charitable DAF Fund, L.P.

(the “DAF”).2

        2.       As set forth in the Motion to Enforce, CLOH challenged the Settlement on the

grounds that: (i) CLOH had a “Right of First Refusal” to acquire HarbourVest’s interest in

HCLOF pursuant to the Members Agreement and (ii) HarbourVest had no right to transfer its

interest without complying with the purported Right of First Refusal. Two other objections were

lodged against the proposed Settlement, one by James Dondero, the Debtor’s founder and former

CEO (“Mr. Dondero”), and the other by his Trusts.3                       These objectors contended that

HarbourVest did not have the right to effectuate the Transfer under the Members Agreement.

Each of the objecting parties exercised their right to take discovery concerning the Settlement

1
  Capitalized terms not defined in this Preliminary Statement shall have the meanings ascribed to them below.
2
  Plaintiffs are controlled and/or directed by Mr. Dondero, the Debtor’s ousted founder. The DAF is Mr. Dondero’s
donor advised fund, and CLOH is an entity wholly owned and controlled by the DAF. Until at least mid-January
2021, Grant Scott, Mr. Dondero’s life-long friend and college roommate, was the sole director of the DAF and of
CLOH (neither of which otherwise had any officers or employees).
3
  The Settlement is being appealed by Mr. Dondero’s two purported family investment trusts: The Dugaboy
Investment Trust (“Dugaboy”) and The Get Good Trust (“Get Good” and together with Dugaboy, the “Trusts”). The
Trusts, like Plaintiffs, are controlled by Mr. Dondero. The appeal and this litigation are just one battle in Mr.
Dondero’s multifaceted litigation assault on the bankruptcy process.


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and the Transfer. The Bankruptcy Court held an evidentiary hearing on the proposed Settlement

and heard argument in support of parties’ objections and defenses. During the hearing, CLOH

voluntarily withdrew its objection premised on the “Right of First Refusal,” after which the

Court overruled the remaining objections and approved the Settlement.

        3.       Mr. Dondero appealed the Settlement, claiming the Debtor overpaid.             Three

months later, Plaintiffs filed their Original Complaint (the “Complaint”), raising substantially

similar core claims and issues that were litigated in the Prior Proceeding, such as the value of the

HCLOF interests and whether the Plaintiffs had some superior right to acquire HarbourVest’s

interest in HCLOF. Plaintiffs bring claims for: (i) breach of fiduciary duty; (ii) breach of the

Members Agreement; (iii) RICO violations; (iv) negligence; and (v) tortious interference with

contract. Plaintiffs principally allege that: (i) Plaintiffs had a “Right to First Refusal” to purchase

the HCLOF interests under the Members Agreement; (ii) the Debtor breached the Members

Agreement by diverting this investment opportunity from Plaintiffs; and (iii) the Debtor failed to

disclose the “true value” of HarbourVest’s interest in HCLOF.

        4.       All of Plaintiffs’ claims are barred by the doctrines of res judicata because they

are identical to those previously litigated, and fully decided, in the Prior Proceeding. Certain

claims are subject to judicial estoppel because they seek to assume positions that are inconsistent

with those previously asserted, namely, that the Right of First Refusal applied to HarbourVest’s

interest in HCLOF. This contradicts Plaintiffs’ voluntarily withdrawal of this same contention in

the Prior Proceeding. Plaintiffs also fail to state any claims for relief that are plausible on their

face under Rule 12(b)(6).

                              II.      FACTUAL BACKGROUND

        5.       Prior to the commencement of the Bankruptcy Case, HarbourVest invested

approximately $80 million (the “Investment”) in HCLOF. Following the Investment, CLOH

                                                  2
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held 49.02% of HCLOF’s interests, HarbourVest held 49.98%, and the remaining 1% was held

by the Debtor and certain Debtor employees. After the Debtor filed for bankruptcy protection,

HarbourVest filed claims against the Debtor in excess of $300 million in Bankruptcy Court,

alleging that HarbourVest was fraudulently induced into the Investment based on factual

misrepresentations and omissions made by Mr. Dondero and certain of his employees. Appx. 1.4

        6.       On December 23, 2020, the Debtor filed its Motion for Entry of an Order

Approving Settlement With HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and

Authorizing Actions Consistent Therewith [Docket No. 1625] (the “Settlement Motion”),

pursuant to which the Debtor sought Bankruptcy Court approval of a settlement the Debtor

reached with HarbourVest in December 2020 (the “Settlement”). Appx. 2. The Debtor also filed

the proposed Settlement Agreement and Transfer Agreement for Ordinary Shares of Highland

CLO Funding, Ltd. (the “Transfer Agreement”). Appx. 3.                    Pursuant to the Settlement,

HarbourVest was to transfer its interest in HCLOF to the Debtor or its nominee (the “Transfer”)

in exchange for (a) an allowed, general unsecured claim in the amount of $45 million, (b) a

subordinated, allowed, general unsecured claim in the amount of $35 million, and (c) other

consideration more fully described in the Settlement Agreement. Appx 2 ¶32. The Transfer was

a necessary component of the Settlement. The Settlement Motion disclosed all aspects of the

Transfer, including (a) what HarbourVest was transferring; (b) the valuation (and method of

valuation) of the asset being transferred to the Debtor; and (c) the method of the Transfer. Id.

¶¶1(b) 32, 32 n.5; Apx. 3. Mr. Dondero, CLOH, and Mr. Dondero’s Trusts objected to the

proposed Settlement.




4
  Refers to the Appendix in Support of the Debtor’s Motion to Dismiss the Complaint (the “Appendix”), filed
concurrently herewith.

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          7.       On January 6, 2021, Mr. Dondero filed his Objection to Debtor’s Motion for

 Entry of an Order Approving Settlement with HarbourVest [Docket No. 1697] Appx. 4

 (“Dondero’s Objection”), contending that the Settlement: (a) was not “reasonable or in the best

 interests of the estate” because the Debtor was grossly overpaying and (b) amounted to “a blatant

 attempt to purchase votes in support of the Debtor’s plan.” Id. ¶1.                       On January 8, 2021,

 Dondero’s Trusts filed their Objection to the Debtor’s Motion for Entry of an Order Approving

 Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions

 Consistent Therewith. [Docket No. 1706]. Appx. 5 (the “Trusts’ Objection”). The Trusts

 questioned (a) whether HarbourVest had the right to effectuate the Transfer, and (b) the

 valuation of the HCLOF interests – matters which are directly at issue in the Complaint.

          8.       On January 8, 2021, Plaintiff CLOH filed its Objection to HarbourVest Settlement

 [Docket No. 1707]. Appx. 6 (“CLOH’s Objection”). CLOH challenged HarbourVest’s right to

 effectuate the Transfer contending that: (a) CLOH and the other members of HCLOF had a

 “Right of First Refusal” under the Members Agreement, id. ¶3, and (b) “HarbourVest has no

 authority to transfer its interest in HCLOF without first complying with the Right of First

 Refusal.” Id. ¶6. CLOH offered a lengthy but faulty analysis of the Members Agreement,

 including CLOH’s purported “Right of First Refusal” under section 6.2 thereof. Id. ¶¶9-22.

          9.       By filing their objections, Mr. Dondero, the Trusts, and CLOH (collectively, the

 “Objectors”) obtained the right to conduct discovery under Bankruptcy Rule 9014(c).5 Mr.

 Dondero and CLOH deposed Michael Pugatch, a representative of HarbourVest [Docket No.

 1705], Ex. 7, but the Objectors sought no formal discovery from the Debtor, HCLOF, or

 Highland HCF Advisors, Ltd. (“HHCFA”). CLOH never contended that: (a) the Debtor had a

 5
   Pursuant to Bankruptcy Rule 9014(c), parties to contested matters (such as the Objectors) have the full panoply of
 discovery rights provided under the Federal Rules of Civil Procedure, including the rights to take depositions, serve
 interrogatories and requests for admission, and seek the production of documents.

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 fiduciary duty to offer the HCLOF interests to CLOH, or (b) the Investment Advisers Act of

 1940 (the “Advisers Act”) was implicated by the Settlement.

         10.      On January 13, 2021, the Debtor filed its Omnibus Reply in Support of Debtor’s

 Motion for Entry of an Order Approving Settlement With HarbourVest (Claim Nos. 143, 147,

 149, 150, 153, 154) and Authorizing Actions Consistent Therewith [Docket No. 1731] (the

 “Omnibus Reply”). Ex. 8. The Omnibus Reply rebutted CLOH’s argument that the Transfer

 could not be completed without HCLOF’s other members being offered HarbourVest’s interest

 in HCLOF, as allegedly required by the “Right of First Refusal” under section 6.2. Id. ¶¶26-39.

 At the January 14, 2021, hearing, CLOH voluntarily withdrew its objection after considering the

 Debtor’s analysis of the Members Agreement by stating on the record:

         CLO Holdco has had an opportunity to review the reply briefing, and . . . [b]ased
         on our analysis of Guernsey law and some of the arguments of counsel on those
         pleadings and our review of the appropriate documents, I obtained authority from
         my client, Grant Scott, as trustee for CLO Holdco, to withdraw the CLO Holdco
         objection based on the interpretation of the member agreement.

 Appx. 9 at 7:20-8:6 (emphasis added). The Debtor called two witnesses in support of the

 Settlement Motion, its court-appointed Chief Executive Officer, James P. Seery, Jr., and Mr.

 Pugatch. Counsel for Mr. Dondero and the Trusts cross-examined the Debtor’s witnesses but did

 not inquire about the value of the HCLOF interests, the Debtor’s fiduciary obligations, or the

 Transfer. Id. at 87:18-89:21. At the conclusion of the hearing, the Court entered an order

 overruling the remaining objections and approving the Settlement [Docket No. 1788] (the

 “Settlement Order”). Appx. 10. The Settlement Order expressly authorized the transfer of

 HarbourVest’s interest in HCLOF providing, in relevant part, that “[p]ursuant to the express

 terms of the [Members Agreement]. . . HarbourVest is authorized to transfer its interest in

 HCLOF. . . without the need to obtain the consent of any party or to offer such interests first to



                                                 5
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 any other investor in HCLOF.” Id. ¶6 (emphasis added).6 The Bankruptcy Court specifically

 included this language because of concerns that Mr. Dondero and his entities would “go to a

 different court somehow to challenge the transfer.” Appx. 9 at 156:19-20.

                  11.        Nevertheless, on April 12, 2021, Plaintiffs filed their Complaint in this

 Court against the Debtor, HCLOF, and HHCFA challenging the Settlement and Transfer. Appx.

 11.7 The Complaint raises claims for: (i) breach of fiduciary duty; (ii) breach of the Members

 Agreement; (iii) RICO violations; (iv) negligence; (v) tortious interference (each, a “Claim” and

 collectively, the “Claims”). In its Claim for breach of fiduciary duty, Plaintiffs allege that the

 Debtor violated its “broad” duties to Plaintiffs under the Advisers Act and the Debtor’s “internal

 policies and procedures” by: (i) engaging in “insider trading with HarbourVest”; (ii)

 “concealing” the value of the HarbourVest interest;8 and (iii) “diverting” the investment

 opportunity in the HarbourVest entities to the Debtor without offering it to Plaintiffs. (Id. ¶¶67-

 74). In their RICO Claim, Plaintiffs allege that Defendant Highland and two affiliated entities

 were an “association-in-fact” engaged in a pattern of racketeering activity for this same

 underlying conduct; namely, failing to disclose the valuation of HCLOF’s interest and ultimately

 effectuating the HarbourVest Settlement. (Id. ¶¶113-133).

         12.      Plaintiffs’ state-law claims rest on the same underlying allegations. In support of

 its claim for breach of the Members Agreement, Plaintiffs allege that the Debtor breached the

 Agreement’s “Right of First Refusal” provision by diverting the investment opportunity away

 from CLOH to the Debtor. Appx. 11 ¶¶92-102. In its negligence claim, Plaintiffs assert that the

 6
   See also Ex. 9 at 156:10-25; 157:1-5.
 7
   Accordingly, the Debtor was forced to file two related motions. First, pending before this Court is the Debtor’s
 Motion for an Order to Enforce the Order of Reference [Docket No. 23] (the “Motion to Enforce”). After Plaintiffs
 sought to add Mr. Seery as a defendant in violation of two Bankruptcy Court orders, the Debtor also filed its motion
 to hold Plaintiffs and their counsel in contempt. [See Docket No. 2247].
 8
   Notably, while Mr. Dondero objected to the Settlement in the Prior Proceeding on the ground that the Debtor was
 overpaying, Plaintiffs contend in the instant proceeding that the Debtor underpaid.

                                                          6
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 Debtor’s actions violated the Members Agreement and the Debtor’s internal policies by failing to

 accurately calculate the HCLOF interests and failing to give Plaintiffs the Right of First Refusal

 to purchase the interests. (Id. ¶¶ 103-112). Plaintiffs’ tortious interference claim is premised on

 the Debtor’s alleged interference with Plaintiff’s “Right of First Refusal” under the Members

 Agreement. (Id. ¶¶ 134-141).

                                      III.      ARGUMENT

         13.      The Complaint should be dismissed on the following independent grounds: (i) the

 Claims are barred by res judicata, (ii) the Claims are barred by collateral estoppel, (iii) the

 Claims are barred by judicial estoppel, and (iv) Plaintiff fails to state claims for relief under Rule

 12(b)(6).

 A.      Legal Standard

         14.      To survive a motion to dismiss pursuant to Rule 12(b)(6), a plaintiff must plead

 “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual

 content that allows the court to draw the reasonable inference that the defendant is liable for the

 misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009) (citing Twombly, 550 U.S. at

 556). “The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

 than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at

 556). “Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

 ‘stops short of the line between possibility and plausibility of entitlement to relief.’” Id. (quoting

 Twombly, 550 U.S. at 557). Dismissal is proper under Rule 12(b)(6) when, taking the facts

 alleged in the complaint as true, it appears that the plaintiff “cannot prove any set of facts that

 would entitle it to the relief it seeks.” C.C. Port, Ltd. v. Davis-Penn Mortg. Co., 61 F.3d 288,



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 289 (5th Cir. 1995). The Court may take judicial notice of matters of public record when

 considering a motion to dismiss for failure to state a claim.9

 B.      Plaintiffs’ Claims are Barred by the Doctrine of Res Judicata

         15.      Plaintiffs’ Claims are barred by the doctrine of res judicata. “Claim preclusion,

 or ‘pure’ res judicata, is the ‘venerable legal canon’ that insures the finality of judgments and

 thereby conserves judicial resources and protects litigants from multiple lawsuits.” United States

 v. Shanbaum, 10 F.3d 305, 310 (5th Cir. 1994) (quoting Medina v. I.N.S., 993 F.2d 499, 503 (5th

 Cir.1993)). “Under res judicata, a final judgment on the merits of an action precludes the parties

 or their privies from relitigating issues that were or could have been raised in that action.” Oreck

 Direct, LLC v. Dyson, Inc., 560 F.3d 398, 401 (5th Cir. 2009). Dismissal under Rule 12(b)(6) is

 proper if the elements of res judicata are apparent based on the facts pleaded and judicially

 noticed. See Hall v. Hodgkins, 305 F. Appx. 224, 227–28 (5th Cir. 2008); Mitchell v. Ocwen

 Loan Servicing, LLC, No. 4:18-cv-00820-P, 2019 WL 5647599, at *3 (N.D. Tex. 2019).

         16.      Here, the Debtor requests the Court to take judicial notice of the record created in

 connection with the Settlement Motion.10 It is clear from record that res judicata bars Plaintiffs’

 claims against the Debtor. “True res judicata has four elements: ‘(1) the parties are identical or

 least in privity; (2) the judgment in the prior action was rendered by a court of competent

 jurisdiction; (3) the prior action was concluded by a final judgment on the merits; and (4) the

 same claim or cause of action was involved in both suits.’” Comer v. Murphy Oil USA, Inc., 718




 9
    See T.L. Dallas (Special Risks), Ltd. v. Elton Porter Marine Ins., No. 4:07–cv–0419, 2008 WL 7627807, at *2
 (S.D.Tex. 2008); Cade v. Henderson, No. CIV A 01-943, 2001 WL 1012251, at *2 F.Supp.2d (E.D.La. Aug. 31,
 2001).
 10
     The Record includes (a) the Settlement Motion, and the exhibits admitted into evidence in support, (b) The
 Transfer Agreement; (c) Dondero’s Objection; (d) the Trusts’ Objection, (e) CLOH’s Objection, (f) the discovery
 taken by the Objectors; (g) the Omnibus Reply; (h) the January 13, 201 Hearing Transcript; and (i) the Settlement
 Order.

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 F.3d 460, 466 (5th Cir. 2013) (quoting Test Masters Educ. Services, Inc. v. Singh, 428 F.3d 559,

 571 (5th Cir. 2005)).

                     17.      Plaintiffs were parties, or in privity with parties, to the Prior Proceeding.

 As noted supra, Plaintiff CLOH objected to the HarbourVest Settlement. Although Plaintiff

 DAF did not file an objection, it is the parent of CLOH, is in privity with CLOH, and was

 controlled by the same person, Mr. Dondero’s friend, Grant Scott.11 The second and third

 elements are also met.            The Bankruptcy Court presiding over the Settlement in the Prior

 Proceeding is a court of competent jurisdiction, and it entered a final order on the merits of the

 Settlement. See Wade v. Household Fin. Corp. III, No. 1:18-CV-570-RP, 2019 WL 433741, at

 *1 (W.D. Tex. Feb. 1, 2019), report and recommendation adopted, 2019 WL 2565252 (W.D.

 Tex. Mar. 11, 2019); Fid. Standard Life Ins. Co. v. First Nat’l Bank & Trust Co., 510 F. 2d 272,

 273 (5th Cir. 1975) (“A case pending appeal is res judicata and entitled to full faith and credit

 unless and until reversed on appeal.”).

            18.      The claims and causes of actions in the Complaint were raised, or could have

 been raised, in the Prior Proceeding. A claim is the same if it relates to the same “transaction, or

 series of transactions, out of which the [original] action arose.” Ries v. Paige (In re Paige), 610

 F.3d 865, 872 (5th Cir. 2010). “When applying this test, the primary question is whether the

 lawsuits were based on ‘the same nucleus of operative fact,’ regardless of the relief requested, or

 the claims brought. Wade, 2019 WL 433741, at *3. “The rule is that res judicata bars all claims

 that were or could have been advanced in support of the cause of action on the occasion of its

 former adjudication, . . . not merely those that were adjudicated.” Howe v. Vaughan (Matter of

 Howe), 913 F.2d 1138, 1144 (5th Cir. 1990) (emphasis in original) (internal quotations omitted).



 11
      Ex. 12 at 11:10-25; 12:1-25; 13:1-25; 14:1-25; 15:1-25; 16:1-17.

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         19.      Plaintiffs’ Claims are the “same or substantially similar” as those raised in the

 Prior Proceeding.           All of Plaintiffs’ Claims rest on allegations that the Debtor: (i) did not

 accurately value the HCLOF interests; (ii) concealed the value of those interests from Plaintiffs;

 (iii) violated the Member Agreement by failing to offer such interests to Plaintiffs pursuant to a

 “Right of First Refusal” provision; and (iv) diverted the investment opportunity to the Debtor

 without offering it to Plaintiffs. (See Complaint). Each of these Claims arise from the same

 “common nucleus of operative facts” as those raised in the Prior Proceeding. In the Prior

 Proceeding, Plaintiff CLOH claimed that: (i) it had a “Right of First Refusal” under the Members

 Agreement to purchase the HarbourVest interests and (ii) “HarbourVest ha[d] no authority to

 transfer its interests” in the Debtor without first “complying with the Right of First Refusal.”

 These issues were fully brief, litigated, and decided. See, e.g., Appx. 6 ¶¶3, 6, 9-22; Ex. 7 at

 140:7-25 (deposition testimony concerning Right of First Refusal); Appx. 8 ¶ 36.

         20.      Plaintiffs’ Claims concerning the valuation of HarbourVest’s interests in the

 HCLOF were also central to the issues raised in the Prior Proceeding.                 The Settlement

 Agreement fully disclosed, inter alia, (i) the valuation and (ii) the method of valuation. See

 Appx. 2, 3 ¶¶1(b). In his Objection, Mr. Dondero asserted that the Debtor was “grossly

 overpaying” for HarbourVest’s interests. See Appx. 4 ¶1. The Trusts’ Objection similarly

 addressed the value of HarbourVest’s interests. See Appx. 5. Discovery was taken on this very

 issue. See Appx. 7 at 28:2-25; 30:1-25; 51:1-25; 59:1-18; 91:1-25 (extensive deposition

 testimony of HarbourVest relating to valuation).

         21.      Indeed, if Plaintiffs believed the Debtor was creating liability for the estate by

 entering into the Settlement Agreement, they were obligated to raise such concerns during the

 Prior Proceeding.       This is nothing more than a de facto appeal or reconsideration of the



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 Settlement under the guise of asserting in this Court that Highland should be held liable for

 damages for actions it undertook pursuant to the Bankruptcy Court’s order authorizing and

 approving the Settlement. Plaintiffs had a full and fair opportunity to litigate all factual and legal

 issues presented by the HarbourVest Settlement and the Transfer in the Bankruptcy Court.

          22.     Plaintiffs contend that “[i]t has recently come to light that … the HarbourVest

 interests, as of December 31, 2020, were worth in excess of $41,750,000,” Appx. 11 ¶ 37. This

 allegation is insufficient to overcome res judicata because the Prior Proceeding squarely

 addressed the overall fairness of the Settlement, including the value of the consideration being

 exchanged and whether the transaction was in the best interests of the Debtor’s estate.

 Moreover, CLOH had the unfettered right to conduct discovery on all of these issues, including

 the Debtor’s alleged duties to CLOH. See In re Paige, 610 F.3d 865, 874 (5th Cir. 2010)

 (affirming bankruptcy court’s finding that res judicata barred claims where previously unlitigated

 claim against debtor could or should have been asserted in earlier proceeding, where at time of

 earlier proceeding, party was aware of the “core” facts underlying later claim); In re Intelogic

 Trace, Inc., 200 F.3d 382, 388 (5th Cir. 2000). Accordingly, the claims in the Prior Proceeding

 and the Complaint arise from the same operative facts and are barred by res judicata. See

 Thomas v. Houston Org. of Pub. Emps., No. CIV.A. H-14-0485, 2014 WL 4629235, at *4 (S.D.

 Tex. Sept. 15, 2014), aff'd sub nom. Thomas v. City of Houston, 619 F. App’x 291 (5th Cir.

 2015).

 C.       Plaintiffs’ Claims are Barred by Judicial Estoppel

          23.     Judicial estoppel is “a common law doctrine by which a party who has assumed

 one position in [their] pleadings may be estopped from assuming an inconsistent position.”

 Brandon v. Interfirst Corp., 858 F.2d 266, 268 (5th Cir.1988). The purpose of the doctrine is “to

 protect the integrity of the judicial process” by “prevent[ing] parties from playing fast and loose

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 with the courts to suit the exigencies of self interest”. Id. (internal quotations omitted); United

 States v. McCaskey, 9 F.3d 368, 378 (5th Cir.1993).

         24.      The doctrine applies: (1) “where the position of the party to be estopped is clearly

 inconsistent with its previous one; and (2) that party must have convinced the court to accept that

 previous position.” In re Coastal Plains Inc., 179 F.3d 197, 206 (5th Cir. 1999). Both prongs

 are easily satisfied here. Plaintiffs’ contentions in the Complaint are directly at odds with those

 taken in the Prior Proceeding. Plaintiff CLOH withdrew its objection to the Settlement Motion

 premised on its alleged “Right of First Refusal” under the Members Agreement. See Appx. 9 at

 7:20-8:6. Plaintiffs’ current Claims contradict this withdrawal because they are premised on the

 Debtor’s “breach,” or violations of, the Plaintiffs’ “Right of First Refusal” under the Members

 Agreement. (See generally Complaint). The first element of judicial estoppel is met. See Hall v.

 GE Plastic Pac. PTE Ltd., 327 F.3d 391, 398 (5th Cir. 2003) (first prong met where statement

 made in a previous suit by party’s attorney was imputed to that party was clearly inconsistent

 with party’s current position on that same issue).

         25.      The Bankruptcy Court, in ruling on the Settlement Motion, necessarily accepted

 and relied on CLOH’s prior position that it was withdrawing any objection premised on the

 Members Agreement. See Appx. 9 at 8:1-10 (Bankruptcy Court accepting CHLOH’s

 withdrawal of objection, noting that withdrawal “eliminates one of the major arguments”); see

 also 156:10-25; 157:1-5; Hall, 327 F.3d at 398 (previous court “necessarily accepted, and relied

 on” party’s previous statements in resolving the conflict, noting that the “‘judicial acceptance’

 requirement does not mean that the party against whom the judicial estoppel doctrine is to be

 invoked must have prevailed on the merits.’”).




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 D.      Plaintiffs Fail to State Claims Upon Which Relief Can be Granted

         1.       Plaintiffs Fail to State a Claim Under RICO

         26.      To state a RICO claim, a plaintiff must allege: “1) the conduct; 2) of an

 enterprise; 3) through a pattern; 4) of racketeering activity.” Montesano v. Seafirst Commercial

 Corp., 818 F.2d 423, 424 (5th Cir.1987). To defeat a motion to dismiss, “a RICO plaintiff must

 allege facts sufficient to establish each of the essential elements of his or her RICO Claim.”

 Robinson v. Standard Mortg. Corp., 191 F. Supp. 3d 630, 638 (E.D. La. 2016). The Complaint

 must be “plead with sufficient particularity” under Rule 9(b). Tel-Phonic Servs., Inc. v. TBS

 Int'l, Inc., 975 F.2d 1134, 1138 (5th Cir. 1992); see also Ranieri v. AdvoCare International, L.P.,

 336 F.Supp.3d 701, 715-16 (N.D. Tex. 2018). “Rule 9(b) requires allegations of the particulars

 of time, place, and contents of the false representations, as well as the identity of the person

 making the misrepresentation and what [they] obtained thereby.” Tel-Phonic Servs, 975 F.2d at

 1134. “[T]o establish a RICO claim based on a pattern of mail or wire fraud, the plaintiff must

 plead that the defendant ‘act[ed] knowingly with the specific intent to deceive for the purpose of

 causing pecuniary loss to another or bringing about some financial gain to [themselves].”

 Ranieri, 336 F.Supp.3d at 715. The plaintiff must plead that RICO violation was the “but-for

 and proximate cause” of their injury. Id.

                  i.         Plaintiffs Fail to Allege a Pattern of Racketeering Activity

         27.      “To allege a ‘pattern of racketeering activity,’ a plaintiff must show that the

 defendant committed two or more predicate offenses that are (1) related and (2) amount to or

 pose a threat of continued criminal activity. H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239

 (1989). Plaintiffs baldly allege three predicate offenses: (i) wire fraud, (ii) mail fraud, and (iii)

 violation of the Advisers’ Act antifraud provisions. See Appx. 11 ¶¶ 130-132. Plaintiffs fail to

 sufficiently plead any of these predicate acts.

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         28.      To state a claim for mail fraud, a plaintiff must allege: “(1) a scheme to defraud,

 (2) which involves the use of the mails, (3) for the purpose of executing the scheme.” United

 States v. Gray, 96 F.3d 769, 773 (5th Cir. 1996). The elements of wire fraud are the same but

 apply to “wire communications in furtherance of the scheme.” Id. “[B]oth RICO mail and wire

 fraud require evidence of intent to defraud, i.e., evidence of a scheme to defraud by false or

 fraudulent representations.” St. Paul Mercury Ins. Co. v. Williamson, 224 F.3d 425, 441 (5th

 Cir.2000). “[A] scheme to defraud must involve fraudulent misrepresentations or omissions

 ‘reasonably calculated to deceive persons of ordinary prudence and comprehension.’” Robinson,

 191 F. Supp. 3d at 639–40.

         29.      The Complaint fails to satisfy the heightened pleading standards for asserting a

 RICO claim. The thrust of Plaintiffs’ claim is that the Debtor operated in such a way as to

 “violate insider trading rules and regulations when it traded with HarbourVest” by concealing

 “non-public information that it had not supplied” to Plaintiffs. Appx. 1 ¶118. Plaintiffs’ RICO

 claim is nothing more than a series of conclusory allegations predicated on activities of mail,

 wire, and bankruptcy fraud. Id. ¶¶113-133 (alleging, for instance, that Mr. Seery (i) “utilized

 wires and/or mails to obtain or arrive at valuations of the HCLOF interests, id. ¶120; (ii)

 “transmitted or caused to be transmitted through the interstate wires information to HCLOF

 investors from HCM…”, id. ¶121, and (iii) “operated [the Debtor] in such a way that he

 concealed the true value of the HCLOF interests by utilizing the interstate wires and mails to

 transmit communications to the court in the form of written representations…”id. ¶122.

                  30.        The Complaint “does not identify specific acts of communication by mail

 or by interstate wires” undertaken by the Debtor “in furtherance of a fraudulent scheme.”

 Merrill Lynch, Pierce, Fenner, & Smith, Inc. v. Young, No. 91 Civ. 2923, 1994 WL 88129, at



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 *11 (S.D.N.Y. Mar, 14, 1994). Nor do Plaintiffs plead with particularity details about the

 contents of the communications, or when the Debtor made such communications, to whom, or

 where such communications were directed. Plaintiffs generally allege that Mr. Seery testified

 about the valuation of the HCLOF interests, Appx. 11 ¶ 125, but provide no details about mail or

 wire fraud. These allegations are insufficient to state a plausible claim for relief under RICO.

 See Robinson, 191 F. Supp. 3d at 640 (dismissing RICO claims where “vague” and “general”

 conclusory allegations “provides no details about the contents of any of these documents. Nor

 does she specify when defendants made these communications or to whom, specifically, they

 were directed.”).

         31.      Plaintiffs’ allegations also fail to sufficiently plead a “pattern of racketeering

 activity.” “Continuity” refers “either to a closed period of repeated conduct, or to past conduct

 that by its nature projects into the future with a threat of repetition.” Tel-Phonic Servs., 975 F.2d

 at 1139-40. “Predicate acts extending over a few weeks or months and threatening no future

 criminal conduct do not satisfy this requirement.” H.J., Inc., 492 U.S. at 241. A RICO “pattern”

 is only established “if the related predicates themselves involve a distinct threat of long-term

 racketeering activity, either implicit or explicit.” Id.; see also Calcasieu Marine Nat'l Bank v.

 Grant, 943 F.2d 1453, 1464 (5th Cir.1991) (“Short-term criminal conduct is not the concern of

 RICO.”).

         32.      Here, there is no such “continuity” alleged.     There is no specific “threat of

 repetition” or distinct threat of long-term criminal conduct. Nor are the allegations sufficient to

 suggest that the Debtor “operates as part of a long-term associates that exists for criminal

 purposes.” H.J., Inc., 492 U.S. at 241. Plaintiffs’ RICO allegations concern conduct allegedly

 occurring in the limited period from September 2020 to January 2021, all surrounding the



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 alleged predicate acts leading up to the HarbourVest Settlement. See, e.g., Appx. 11 ¶¶119-128

 (alleging that, (i) “[o]n or about September 30, 2020, Seery transmitted … through the interstate

 wires information to HCLOF investors,” (ii) in November 2020, “HCM and HarbourVest entered

 into discussions about settlement the HarbourVest Claims, and (iii) in January 2021, “Seery

 testified that he “had valued the HarbourVest Assets at their current valuation and at fair market

 value”). Such allegations concern short-term, discrete transactions, and do not show a “pattern

 of activity,” or threat of “continuing racketeering activity.” In re Burzynski, 989 F.2d 733, 742

 (5th Cir. 1993); Calcasieu, 943 F.2d at 1464.

                  ii.        Plaintiffs Fails to Allege a RICO Association-in-Fact Enterprise

         33.      A RICO “enterprise” can be either a legal entity or an “association in fact”

 enterprise. Burzynski, 989 F.2d at 743 (citing 18 U.S.C. 1961(4)). “A RICO association in fact

 enterprise must be shown to have continuity.” Calcasieu Marine Nat. Bank v. Grant, 943 F.2d

 1453, 1461 (5th Cir. 1991). “Continuity or the ongoing nature of an association in fact is the

 linchpin of enterprise status.” Ocean Energy II, 868 F.2d 740, 749 (5th Cir.1989). “The

 enterprise must have continuity of its structure and personnel, which links the defendants, and a

 common or shared purpose. . . An association in fact enterprise (1) must have an existence

 separate and apart from the pattern of racketeering, (2) must be an ongoing organization and (3)

 its members must function as a continuing unit as shown by a hierarchical or consensual decision

 making structure.” Calcasieu, 943 F.2d at 1461 (internal quotations omitted). In other words, an

 “association in fact enterprise must have an existence separate and apart from the pattern of

 racketeering.” Id.

         34.      Plaintiffs argue that the Defendants, together, constitute an “association-in fact”

 enterprise because “the purpose of the association-in-fact was the perpetuation of Seery’s



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 position at HCM and using the Harbourvest settlement as a vehicle to enrich persons other than

 the HCLOF investors, including [Plaintiffs].” Appx. ¶115. However, these allegations fail to

 show that Defendants functioned as a continuing unit, separate and apart from the alleged RICO

 violation, and fail to allege that Defendants are an “enterprise” within the purview of RICO. See

 Montesano, 818 F.2d at 427 (allegations failed to allege association-in-fact enterprise under

 RICO where plaintiffs only alleged that defendants “conspired in this one instance,” the

 “enterprise was the accomplishment of this discrete event. That is not enough.”); Burzynski, 989

 F.2d at 743 (allegations of “association-in-fact” enterprise lack “continuity” where activity of

 enterprise related to the predicate acts forming basis of RICO allegations).

         35.      Plaintiffs also fail to identify the roles of the two affiliates of the Debtor, HHCFA,

 and HCLOF, and how these two entities, with the Debtor, participated in the alleged criminal

 enterprise. See Allstate Insurance Company v. Benhamou, 190 F. Supp. 3d 631, 656 (S.D. Tex.

 2016) (complaint failed to sufficiently allege how party “participated in the operation or

 management of the enterprise or association-in-fact enterprise as required by the statute,” and

 “from these sparse allegations it appears [party] had limited involvement in the entity’s affairs.”);

 Allstate Ins. Co. v. Donovan, No. CIV.A. H-12-0432, 2012 WL 2577546, at *14 (S.D. Tex. July

 3, 2012) (plaintiffs failed to plead association-in-fact enterprise under RICO where the complaint

 “lacks factual allegations capable of establishing how the alleged scheme was formed, who—if

 anyone—was in charge, how each of the defendants participated in the alleged scheme other than

 providing independent services, or whether there were communications, agreements, or an

 understanding between the alleged parties that advanced the fraud”). Plaintiffs fail to allege the

 existence of an association-in-fact enterprise and fail to state a claim under RICO.




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                  iii.       Plaintiffs Fail to Allege Causation

         36.      Plaintiffs also fail to plausibly allege causation. RICO provides civil remedies to

 “[a]ny person injured in [their] business or property by reason of a violation of section 1962.” 18

 U.S.C. § 1964(c). “An injured party must show that the violation was the but-for and proximate

 cause of the injury.” Allstate, 802 F.3d at 676 (citing Bridge v. Phoenix Bond & Indem. Co., 553

 U.S. 639, 654 (2008)); Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006) (“[w]hen a

 court evaluates a RICO claim for proximate causation, the central question it must ask is whether

 the alleged violation led directly to the plaintiff's injuries.”). In general, “a RICO plaintiff

 alleging injury by reason of a pattern of mail fraud must establish at least third-party reliance in

 order to prove causation.” Bridge, 553 U.S. at 659.

         37.      Here, Plaintiffs fail to allege that the Debtor’s actions induced them to act or that

 any alleged injuries were the proximate cause thereof. Plaintiffs generally allege that “had

 Plaintiff been offered those [HCLOF] interests, it would have happily purchased them and

 therefore would have infused over $20 million in cash into the estate for the purpose of executing

 the Harbourvest Settlement.” Appx. 11 ¶50. Such conclusory and speculative allegations are

 insufficient to show proximate and but-for causation.12 See Robinson, 191 F. Supp. 3d at 645

 (allegations failed to state causation required for alleged RICO violation where her “after-the-

 fact” and “bare assertion that she would have acted differently” had she known of certain facts is

 insufficient, and “absent additional factual allegations to support or explain this assertion,”

 plaintiff’s pleadings fail to ‘nudge[] [her] claims across the line from conceivable to plausible.’”)

 (quoting Twombly, 550 U.S. at 547); In re Oil Spill by Oil Rig Deepwater Horizon in Gulf of

 Mexico, on Apr. 20, 2010, 802 F. Supp. 2d 725, 729 (E.D. La. 2011) (plaintiffs fail to allege

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   Although Plaintiff CLOH alleged in their objection to the Settlement that Defendants breached the “Right of First
 Refusal” under the Members Agreement, Plaintiff CLOH never stated it was interested in or willing to purchase the
 HarbourVest interests. See Ex. 8.

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 proximate causation for RICO claim where economic harms suffered by plaintiffs are “too

 remote” and where theory of causation “depends on a series of speculative assumptions to link

 the alleged fraud” with the harm).

         2.       Plaintiffs Fail to State a Claim for Breach of Fiduciary Duty

                  38.        Plaintiffs fail to state a claim for breach of fiduciary duty. Plaintiffs’

 fiduciary claim is premised on the Debtor’s alleged: (i) insider trading; (ii) concealment of the

 value of the HarbourVest assets; and (iii) diversion of the investment opportunity from Plaintiffs

 to the Debtor, in violation of Section 10(b) of the Securities and Exchange Act of 1934 and

 Advisers Act. See Appx. 11 ¶67-80. Where a plaintiff’s breach of fiduciary duty claim is

 premised on theories of securities fraud, Rule 9(b)’s heightened pleadings standards apply. See

 Tigue Inv. Co. v. Chase Bank of Texas, N.A., No. CIV.A.3:03 CV 2490 N, 2004 WL 3170789, at

 *2 (N.D. Tex. Nov. 15, 2004). This heightened pleading standard “protects defendants from

 harm to their reputation and goodwill, reduces the number of strike suits, and prevents plaintiffs

 from filing baseless claims and then attempting to discover unknown wrongs.” Tuchman v. DSC

 Communications, 14 F.3d 1061, 1067 (5th Cir.1994).

         39.      “Section 10(b) of the Securities and Exchange Act of 1934 makes unlawful the

 use of ‘any manipulative or deceptive device or contrivance’ in contravention of SEC rules.”

 Alabama Farm Bureau Mut. Cas. Co. v. Am. Fid. Life Ins. Co., 606 F.2d 602, 608 (5th Cir.

 1979). Rule 10b-5 prohibits the use of any “artifice to defraud” or any act “which operates or

 would operate as a fraud or deceit.” See id. “A cause of action lies under Rule 10b-5 ‘only if the

 conduct alleged can be fairly viewed as manipulative or deceptive’ within the meaning of the

 statute.” Id. (quoting Santa Fe Industries, Inc. v. Green, 430 U.S. 462, 473 (1977)).

         40.      To state a securities-fraud claim under section 10(b), and Rule 10b–5, plaintiffs

 must plead: “(1) a misstatement or omission; (2) of a material fact; (3) made with scienter; (4) on

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 which the plaintiffs relied; and (5) that proximately caused the plaintiffs' injuries.” Southland

 Sec. Corp. v. INSpire Ins. Sols., Inc., 365 F.3d 353, 368 (5th Cir. 2004). “A fact is material if

 there is ‘a substantial likelihood that, under all the circumstances, the omitted fact would have

 assumed actual significance in the deliberations of the reasonable shareholder.’” Id. (quoting

 Grigsby v. CMI Corp., 765 F.2d 1369, 1373 (9th Cir.1985)). “[S]cienter is a crucial element of

 the securities fraud claims.” Tuchman, 14 F.3d at 1067.

         41.      Plaintiffs’ allegations underlying its breach of fiduciary duty claim are premised

 largely the same conclusory allegations as those underlying its fraud-based RICO claim. See

 Appx. 1 ¶¶67-91. Because Plaintiffs fail to plead securities fraud, any fiduciary claim premised

 on such allegations necessary fails as well. See Town N. Bank, N.A., 2014 WL 4851558, at *27

 (plaintiffs’ “breach of fiduciary duty claim is based on the same allegations as its fraud claim.

 Rule 9(b) therefore applies.”).

         42.      Plaintiffs fail to plead with particularity that any alleged omissions by the Debtor

 assumed any real significance for the Plaintiffs. See, e.g., Appx. 11 ¶82-89 (speculating about

 Plaintiffs “lost opportunity cost,” and vaguely asserting that “Defendants’ malfeasance” has

 “exposed HCLOF to a massive liability from HarbourVest.”). These allegations also fail to give

 rise to a “strong interference of scienter” sufficient to state a claim under Rule 10(b). In re

 Enron Corp. Sec., Derivative & ERISA Litig., 258 F. Supp. 2d 576, 635 (S.D. Tex. 2003).

 Plaintiffs’ allegations also fail to detail any deceptive motive on the part of the Debtor. The

 allegations are insufficient to lead to any inference of scienter. See Southland, 365 F.3d at 368

 (plaintiff must plead “more than allegations of motive and opportunity to withstand dismissal”

 for claim of securities fraud). Plaintiffs’ allegations regarding proximate cause are equally




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 deficient. See Appx. 11 ¶¶88-89 (generally alleging that because of Defendants’ actions,

 “Plaintiffs have lost over $25 million”).

         43.      Plaintiffs also fail to allege any breach of fiduciary claims premised on state law.

 Texas law13 provides “[t]he elements of a breach of fiduciary duty claim are: (1) a fiduciary

 relationship between the plaintiff and defendant; (2) the defendant must have breached his

 fiduciary duty to the plaintiff; and (3) the defendant’s breach must result in injury to the plaintiff

 or benefit to the defendant.” Matter of ATP Oil & Gas Corp., 711 F. App'x 216, 221 (5th Cir.

 2017) (internal quotations omitted). “The plaintiff must plead some facts as to the nature of the

 relationship to state a plausible claim that that a fiduciary duty has been breached.” Matter of

 Life Partners Holdings, Inc., 926 F.3d 103, 125 (5th Cir. 2019).

         44.      The Complaint fails to sufficiently allege facts regarding the nature of the

 relationship between Plaintiffs and the Debtor. See Appx. 11 (generally alleging that (i) the

 Debtor “owed a fiduciary duty to [Plaintiffs]” pursuant to which the Debtor “agreed to provide

 sound investment advice, and (ii) this fiduciary relationship is “broad and applies to the entire

 advisors-client relationship”). The Complaint also fails to adequately allege that any state law or

 Guernsey fiduciary duty existed, let alone was breached. Matter of Life Partners Holdings, Inc.,

 926 F.3d 103, 125 (5th Cir. 2019) (complaint failed to allege “the nature of the fiduciary duty

 owed” to plaintiff). The allegations premised on the Debtor’s breach of its “internal policies and

 procedures” or the diversion of “corporate opportunities” are otherwise conclusory. Appx. 11

 ¶¶72-89. See In re Soporex, Inc., 463 B.R. 344, 417 (Bankr. N.D. Tex. 2011) (allegations fail to

 state claim for breach of fiduciary duty were conclusory and “lack of factual content” relating to

 corporate mismanagement and corporate waste).


 13
  Plaintiffs allege breach of fiduciary duty under state law; however, HCLOF is a Guernsey entity and the Members
 Agreement is governed by Guernsey law. See Ex. 13 at 14.

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                  45.        To the extent that Plaintiffs rely on the Advisers Act in support of their

 Claims for breach of fiduciary duty, they still fail.14 Plaintiffs’ Claim is purportedly premised on

 the Advisors Act because (i) Defendant Debtor was Plaintiff DAF’s investment adviser under an

 advisory agreement and (ii) Defendant HHCFA is HCLOF’s investment adviser under a separate

 advisory agreement. However, the Adviser Act does not contain a private right of action to sue

 for damages arising from breach of fiduciary duty. Corwin v. Marney, Orton Invs., 788 F.2d

 1063, 1066 (5th Cir. 1986)); Transamerica Mtg. Advisors, Inc. v. Lewis, 444 U.S. 11 (1979)

 (holding there is no private right of action under Section 206 of the Advisors Act); Kassover v.

 UBS AG, 619 F. Supp. 2d 28, 34 (S.D.N.Y. 2008) (“The only remedy available under the

 Advisers Act is rescission of the investment advisory contract and restitution of consideration

 paid for investment advisory services.”).

                  46.        There is also no fiduciary duty owed to Plaintiff CLOH as an investor in

 HCLOF. CLOH does not have any investment advisory relationship with Defendant Debtor (or

 HHCFA). Plaintiff CLOH is merely an investor in HCLOF and not an advisory client of

 Defendant Highland or HHCFA. It is well established that there is no fiduciary relationship

 between an investment adviser to HCLOF and investors in HCLOF. See Goldstein v. SEC, 451

 F.3d 873, 879 (D.C. Cir. 2006) (no fiduciary relationship between an investment adviser to a

 pooled fund and an investor in the pooled fund). The claim fails as a matter of law. See Town N.

 Bank, 2014 WL 4851558, at *27 (fiduciary claim fails as a matter of law where no duty owed to

 plaintiff).




 14
   Plaintiffs cite to Section 47(b) of the Advisers Act for the proposition that the Transfer of HCLOF’s interests is
 unenforceable. However, there is no Section 47(b) of the Advisers Act.

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         3.       Plaintiffs Fail to State a Claim for Breach of Members Agreement

         47.      Plaintiffs fail to plead sufficient facts to state a breach of contract claim premised

 on breach of the Members Agreement. Plaintiffs conceded there was no breach of the Members

 Agreement in open court. See Appx. 9 at 7:20-8:6. Plaintiffs’ admission was driven by their

 recognition that their claim for breach is contradicted by the plain terms of the Member

 Agreement. Section 6.1 of the Members Agreement provides, in pertinent part, “[n]o Member

 shall sell … or otherwise dispose of its Shares or its commitment to settle purchases of Shares

 under the Subscription and Transfer Agreement (each a ‘Transfer’), other than to an Affiliate

 of an initial Member party hereto, without the prior written consent of [HHCFA].” Appx. 13 at

 § 6.1 (emphasis added). Under the Members Agreement, “Affiliate” is defined as, “with respect

 to a person, (i) any other person who, directly or indirectly, is in control of, or controlled by, or is

 under common control with, such person. . .” (Id. § 1.1). A “Member” is a “holder of shares in

 the Company.” The “initial Member[s]” are the initial Members of HCLOF listed on the first

 page of the Members Agreement and include the Debtor, HarbourVest, and CLO Holdco. Under

 the plain language of Section 6.1, HarbourVest is entitled – without the consent of any party – to

 “Transfer” its interests in HCLOF to an “Affiliate” of any of the Debtor, HarbourVest, or CLOH.

 Section 6.2 provides two exceptions to the “Right of First Refusal”: (1) Transfers to “affiliates

 of an initial Member” from Members other than CLO Holdco and the “Highland Principals” and

 (2) Transfers from CLO Holdco or a Highland Principal to the Debtor, the Debtor’s “Affiliates,”

 or another Highland Principal. Since HarbourVest transferred its interests to the Debtor or its

 designee, an Affiliate of an initial Member, the plain language of section 6.2 exempts

 HarbourVest from having to comply with the “Right of First Refusal.” See Appx. 13; Appx. 8

 ¶¶ 28-35. Plaintiffs’ breach of contract claim fails as a matter of law.



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         48.      Plaintiffs also fail to plead actual damages resulting from the alleged breach of the

 Members Agreement, other than contending, as it does throughout its Complaint, that “had

 plaintiff been allowed to do so, it would have obtained the interests” in HCLOF. (Id. ¶100).

 Such conclusory allegations are insufficient. See Snowden v. Wells Fargo Bank, N.A., No. 3:18-

 CV-1797-K-BN, 2019 WL 587304, at *6 (N.D. Tex. Jan. 18, 2019), report and recommendation

 adopted, No. 3:18-CV-1797-K, 2019 WL 586005 (N.D. Tex. Feb. 12, 2019) (plaintiffs failed to

 plead breach of contract where they failed adequately plead “actual damages”).

         4.       Plaintiffs Fail to State a Claim for Negligence

         49.      Plaintiffs fail to state a claim for negligence. “The elements of a negligence claim

 under Texas law are: ‘(1) a legal duty on the part of the defendant; (2) breach of that duty; and

 (3) damages proximately resulting from that breach.’” Sivertson v. Citibank, N.A. as Tr. for

 Registered Holders of WAMU Asset-Back Certificates WAMU Series No. 2007-HE2 Tr., 390 F.

 Supp. 3d 769, 789 (E.D. Tex. 2019). Plaintiffs’ allegations underlying their negligence claim are

 premised on the same conclusory allegations forming the basis of their breach of contract and

 fiduciary duty claims. See Appx. 1 ¶¶103-112. The same pleading deficiencies discussed above

 are present here regarding “duty” and “proximate case.” Id. ¶¶106-107. See Rodgers v. City of

 Lancaster Police, No. 3:13-CV-2031-M-BH, 2017 WL 457084, at *17 (N.D. Tex. Jan. 6, 2017)

 (plaintiff fails to allege how the alleged “negligence was the proximate cause of any damages to

 her” and fails to “allege facts related to the defendants’ duty to her.”).

         5.       Plaintiffs Fail to State a Claim for Tortious Interference with Contract

         50.      Plaintiffs’ tortious interference claim is premised on the Debtor’s alleged

 violation of the Member Agreement and concealment of the value of HCLOF. Appx. 1 ¶¶134-

 141. To state a claim for tortious interference with contract, a plaintiff must show: “(1) the

 existence of a contract subject to interference, (2) willful and intentional interference, (3) that

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 proximately causes damage, and (4) actual damage or loss.” Specialties of Mexico Inc. v.

 Masterfoods USA, No. CIV.A. L-09-88, 2010 WL 2488031, at *9 (S.D. Tex. June 14, 2010).

 Plaintiffs’ claim fails to sufficiently allege how the Debtor intentionally interfered with the

 Members Agreement and, in fact, have admitted that the transfer of the HCLOF interests did not

 violate the Members Agreement. Plaintiffs also fail to allege proximate causation or any actual

 damages sustained as a result of the alleged interference. Accordingly, this claim should be

 dismissed.

                                    IV.      CONCLUSION

                  WHEREFORE, the Debtor respectfully requests that the Court grant its Motion

 and enter an order in the form annexed to the Motion as Exhibit A, and grant any further relief

 as the Court deems just and proper.

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